Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.704 Page 1 of 18




 Robert H. Scott (USB #10981)
 AKERMAN LLP
 170 South Main Street, Suite 725
 Salt Lake City, Utah 84101-1648
 Telephone: 801.907.6900
 Facsimile: 801.355.0294
 Email: robert.scott@akerman.com

 Caroline H. Mankey (pro hac vice)
 AKERMAN LLP
 601 West Fifth Street, Suite 300
 Los Angeles, California 90071
 Telephone: (213) 533-5949
 Facsimile: (213) 627-6342
 Email: caroline.mankey@akerman.com

 Attorneys for Defendants Mark Cassidy and Joshua Wilding

                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  GREAT BOWERY, d/b/a TRUNK                      DEFENDANT JOSHUA WILDING'S
  ARCHIVE,                                       ANSWER TO COMPLAINT
                  Plaintiff,
                                                 Case No. 2:21-cv-00567-JNP-JCB
  v.                                             Judge Jill N. Parrish
  BEST LITTLE SITES, d/b/a                       Magistrate Judge Jared C. Bennett
  www.comicbookmovie.com; NATHAN
  BEST; MARK CASSIDY; JOSHUA
  WILDING; and DOES 1 through 10,
  inclusive,

                  Defendants.


          Pursuant to Rule 8 of the Federal Rules of Civil Procedure, Defendant Joshua Wilding

 ("Defendant"), for himself alone and for no other defendant, respectfully submits the following

 answer and affirmative defenses to the Complaint by Plaintiff Great Bowery d/b/a Trunk Archive

 ("Plaintiff").



 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.705 Page 2 of 18




                                               PARTIES

          1.    Defendant lacks personal knowledge or information sufficient to form a belief as

 to Plaintiff's organization status or place of business.

          2.    Defendant lacks personal knowledge or information sufficient to form a belief as

 to Defendant Best Little Sites, LLC's organization status or principal place of business.

          3.    Defendant admits that Defendant Nathan Best is an individual, but lacks personal

 knowledge or information sufficient to form a belief as to Mr. Best's residential address.

          4.    Admit.

          5.    Admit.

          6.    This paragraph consists of legal conclusions that do not require a response or denial.

 To the extent that any of the remaining allegations contained in this paragraph can be considered

 factual assertions, Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of each and every allegation of this paragraph and on that basis denies each and every such

 allegation.

                                  JURISDICTION AND VENUE

          7.    This paragraph consists of legal conclusions that do not require a response or denial.

 To the extent that any of the remaining allegations contained in this paragraph can be considered

 factual assertions, Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of each and every allegation of this paragraph and on that basis denies each and every such

 allegation.




                                                    2
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.706 Page 3 of 18




          8.    This paragraph consists of legal conclusions that do not require a response or denial.

 To the extent that the allegation contained in this paragraph can be considered a factual assertion,

 Defendant denies such allegation.

          9.    This paragraph consists of legal conclusions that do not require a response or denial.

 To the extent that the allegation contained in this paragraph can be considered a factual assertion,

 Defendant denies such allegation.

          10.   This paragraph consists of legal conclusions that do not require a response or denial.

 To the extent that the allegation contained in this paragraph can be considered a factual assertion,

 Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

 allegation of this paragraph and on that basis denies such allegation.

          11.   This paragraph consists of legal conclusions that do not require a response or denial.

 To the extent that the allegation contained in this paragraph can be considered a factual assertion,

 Defendant denies such allegation.

                                   FACTUAL BACKGROUND

          12.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          13.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.




                                                  3
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.707 Page 4 of 18




          14.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          15.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          16.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          17.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          18.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          19.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          20.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.




                                                 4
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.708 Page 5 of 18




          21.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          22.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          23.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          24.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          25.   Admit.

          26.   Admit.

          27.   Admit.

          28.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          29.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          30.   Admit.


                                                 5
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.709 Page 6 of 18




          31.   Defendant admits that CBM solicits paid contributors to generate content, but

 denies that CBM solicits contributors to edit and moderate content, for the CBM website.

          32.   Deny.

          33.   Defendant admits that paid contributors are compensated each month, but denies

 that contributors are eligible for bonus and other incentives based on the content they create to

 CBM's Website.

          34.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          35.   Admit.

          36.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          37.   Admit.

          38.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          39.   Admit.

          40.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.




                                                 6
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.710 Page 7 of 18




          41.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          42.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          43.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          44.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          45.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          46.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          47.   Admit.

          48.   Admit.

          49.   Admit.

          50.   Deny.


                                                 7
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.711 Page 8 of 18




           51.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

           52.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

           53.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

           54.   Defendant admits that he is a contributor to the Website, but denies that he is a paid

 editor.

           55.   Defendant admits that he is expressly authorized by CBM to create content, but

 denies that he is expressly authorized by CBM to edit content, for the Website.

           56.   Admit.

           57.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

           58.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.




                                                   8
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.712 Page 9 of 18




          59.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          60.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          61.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          62.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          63.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          64.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          65.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.




                                                 9
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.713 Page 10 of 18




          66.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          67.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          68.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          69.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          70.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          71.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          72.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.




                                                 10
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.714 Page 11 of 18




          73.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          74.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          75.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          76.   Deny.

                                   FIRST CAUSE OF ACTION

          77.   Defendant incorporates by this reference each and every admission and denial set

 forth above, inclusive, as though fully stated herein.

          78.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          79.   Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

          80.   This paragraph consists of legal conclusions that do not require a response or denial.

 To the extent that any of the remaining allegations contained in this paragraph can be considered

 factual assertions, Defendant denies each and every such allegation.


                                                  11
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.715 Page 12 of 18




           81.    Defendant lacks personal knowledge or information sufficient to form a belief as

 to the truth of each and every allegation of this paragraph and on that basis denies each and every

 such allegation.

           82.    This paragraph consists of legal conclusions that do not require a response or denial.

 To the extent that any of the remaining allegations contained in this paragraph can be considered

 factual assertions, Defendant denies each and every such allegation.

           83.    This paragraph consists of legal conclusions that do not require a response or denial.

 To the extent that any of the remaining allegations contained in this paragraph can be considered

 factual assertions, Defendant denies each and every such allegation.

           84.    Deny.

           85.    Defendant admits that Plaintiff is seeking a declaration and injunction, but denies

 each and every other allegation in this paragraph.

                                        PRAYER FOR RELIEF

           86.    Defendant denies that Plaintiff is entitled to any of the relief sought in its Prayer for

 Relief.

                                      AFFIRMATIVE DEFENSES

                                   AFFIRMATIVE DEFENSE NO. 1

           Plaintiff fails to state claims for which relief can be granted.

                                   AFFIRMATIVE DEFENSE NO. 2

           Plaintiff’s claims are barred because there is no damage which stems directly or indirectly

 from any conduct complained of in the Complaint.

                                   AFFIRMATIVE DEFENSE NO. 3

           Plaintiff’s claims are barred because they run contrary to public policy.

                                                     12
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.716 Page 13 of 18




                                  AFFIRMATIVE DEFENSE NO. 4

           Plaintiff’s claims are barred by Plaintiff’s failure to mitigate damages (should any damages

 exist).

                                  AFFIRMATIVE DEFENSE NO. 5

           Plaintiff’s claims are barred by the Safe Harbor provisions of the Digital Millennium

 Copyright Act because the CBM is a service provider and the accused content was posted, stored,

 transmitted, or otherwise made available at the direction of a user.

                                  AFFIRMATIVE DEFENSE NO. 6

           Plaintiff’s claims are barred by the doctrine of collateral estoppel, res judicata, issue

 preclusion, claim preclusion, and claim splitting.

                                  AFFIRMATIVE DEFENSE NO. 7

           Plaintiff’s claims are barred because Defendant did not have actual knowledge of the

 alleged infringement or knowledge of facts or circumstances from which infringing activity is

 apparent.

                                  AFFIRMATIVE DEFENSE NO. 8

           Plaintiff’s claims are barred because Defendant did not materially contribute to any alleged

 infringement.

                                  AFFIRMATIVE DEFENSE NO. 9

           Plaintiff’s claims are barred because Defendant did not know or intend for his actions to

 lead to infringement of any of Plaintiff’s copyrights.




                                                   13
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.717 Page 14 of 18




                                AFFIRMATIVE DEFENSE NO. 10

          Plaintiff’s claims are barred because CBM acted expeditiously to remove and/or disable

 access to the photographs at issue upon obtaining knowledge or awareness of the alleged

 infringement.

                                AFFIRMATIVE DEFENSE NO. 11

          Plaintiff’s claims are barred because Plaintiff did not submit a compliant DMCA take-

 down notice in connection to the photographs at issue.

                                AFFIRMATIVE DEFENSE NO. 12

          Plaintiff’s claims are barred because the photographs at issue were not stored and/or did

 not reside on a system or network controlled or operated by Defendant.

                                AFFIRMATIVE DEFENSE NO. 13

          Plaintiff’s claims are barred because the alleged damages, if any, were proximately caused

 by act or omissions, negligence, or intentional acts by third parties over whom Defendant had no

 control or right of control or, if Defendant had any right of control, were acting beyond the scope

 of any relationship with Defendant, or such damages were caused by conditions or events over

 which Defendant had no control or right of control.

                                AFFIRMATIVE DEFENSE NO. 14

          Plaintiff’s claims are barred because of Plaintiff’s own bad faith or unlawful actions.

                                AFFIRMATIVE DEFENSE NO. 15

          Plaintiff’s claims are barred under the doctrine of unjust enrichment.

                                AFFIRMATIVE DEFENSE NO. 16

          Plaintiff’s claims are barred because Defendant's infringement, if there was infringement,

 was not malicious, deliberate, consciously wrongful, or done in bad faith.

                                                   14
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.718 Page 15 of 18




                                 AFFIRMATIVE DEFENSE NO. 17

          Plaintiff’s claims are barred under the doctrine of unclean hands.

                                 AFFIRMATIVE DEFENSE NO. 18

          Plaintiff’s claims are barred because Defendant acted in good faith and was justified in his

 actions.

                                 AFFIRMATIVE DEFENSE NO. 19

          Plaintiff’s claims are barred because Plaintiff inflicted its own harm and through its acts or

 omissions was the sole cause or the proximate cause of the damages complained.

                                 AFFIRMATIVE DEFENSE NO. 20

          Plaintiff’s claims are barred because Defendant did not have the right and ability to

 supervise the allegedly infringing activity sufficient to confer vicarious liability for the allegedly

 infringing activity.

                                 AFFIRMATIVE DEFENSE NO. 21

          Plaintiff’s claims are barred because Defendant did not have a direct financial interest in

 the allegedly infringing activity sufficient to confer vicarious liability for the allegedly infringing

 activity.

                                 AFFIRMATIVE DEFENSE NO. 22

          Plaintiff’s claims are barred because of the equitable doctrines of laches and waiver.

                                 AFFIRMATIVE DEFENSE NO. 23

          Plaintiff is not entitled to any relief because it has engaged in copyright misuse, including

 for the purpose of stifling competition.




                                                   15
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.719 Page 16 of 18




                                AFFIRMATIVE DEFENSE NO. 24

          Defendant's actions and/or conduct are protected by the First Amendment of the United

 States Constitution.

                                AFFIRMATIVE DEFENSE NO. 25

          Defendant's actions and/or conduct are protected by the fair use doctrine.

                                AFFIRMATIVE DEFENSE NO. 26

          Plaintiff's claim for copyright infringement is barred, in whole or part, because its alleged

 copyrights are invalid.

                                AFFIRMATIVE DEFENSE NO. 27

          Plaintiff is not entitled to any monetary relief because the damages sought by Plaintiff are

 entirely speculative.

                                AFFIRMATIVE DEFENSE NO. 28

          Defendant's actions and/or conduct are protected by the doctrine of de minimis use.

                                   RESERVATION OF DEFENSES

          Defendant reserves his rights to add further affirmative defenses that may be discovered

 during the litigation.

                             DEFENDANTS’ PRAYER FOR RELIEF

          WHEREFORE Defendant respectfully requests:

          1.     Entry of judgment that Defendant has not directly, vicariously, or contributorily

 infringed any copyright owned or asserted by Plaintiff;

          2.     Entry of judgment that Defendant has not induced infringement of any copyright

 owned or asserted by Plaintiff;



                                                   16
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.720 Page 17 of 18




          3.     Entry of judgment that Defendant has not willfully infringed any copyright owned

 or asserted by Plaintiff;

          4.     Entry of judgment for costs and reasonable attorney fees incurred by Defendant;

 and

          5.     Such other and further relief as the Court may deem appropriate.

          DATED this 15th day of July, 2022.

                                                      AKERMAN LLP

                                                      By: /s/ Robert H. Scott
                                                         Robert H. Scott (USB #10981)

                                                         Caroline H. Mankey (CA SBN 187302)
                                                         (pro hac vice)
                                                         601 West Fifth Street, Suite 300
                                                         Los Angeles, California 90071
                                                         Telephone: (213) 533-5949
                                                         Email: caroline.mankey@akerman.com
                                                         Attorneys for Defendants Mark Cassidy
                                                         and Joshua Wilding




                                                 17
 64795583;1
Case 2:21-cv-00567-DBB-JCB Document 56 Filed 07/15/22 PageID.721 Page 18 of 18




                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 15th day of July, 2022, I caused a true and correct copy of the

 foregoing DEFENDANT JOSHUA WILDING'S ANSWER TO COMPLAINT to be filed via

 the Court's CM/ECF system which provided electronic notice of such filing to all persons

 registered to receive notice in this case.

                                                        /s/ Robert H. Scott




                                                  18
 64795583;1
